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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND



Civil Action No. 1:13-cv-01712-CCB




EQUAL EMPLOYMENT OPPORTUNITY COMMISSION,

                   Plaintiff,

            v.

PERFORMANCE FOOD GROUP, INC.,


                   Defendant.




                                CONSENT DECREE
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                                         I. RECITALS

1.   This civil action was instituted by Plaintiff, the Equal Employment Opportunity

     Commission (“Plaintiff” or “EEOC”), an agency of the United States, alleging that

     Defendant Performance Food Group, Inc. (“Defendant” or “PFG”) engaged in unlawful

     employment practices, in violation of Section 703(a)(1) and (a)(2) of Title VII of the

     Civil Rights Act of 1964 as amended, 42 U.S.C. Section 2000e-2(a)(1) and (a)(2) (“Title

     VII”). Plaintiff specifically alleged that since at least January 1, 2004, Defendant has

     engaged in an ongoing pattern or practice of failing to hire a class of female applicants

     for operative positions at its Broadline facilities. Plaintiff further alleged that in or around

     February 2007, Defendant failed to promote Julie Lawrence into the position of

     Nighttime Warehouse Training Supervisor at its Carroll County Foods facility in

     Maryland on the basis of her sex. Defendant denies that it has engaged in a pattern or

     practice of sex discrimination as alleged in the complaint and that it failed to promote

     Ms. Lawrence because of her sex.

2.   The Parties (defined in Section III, below), desiring to settle this action by an appropriate

     Consent Decree, agree to the jurisdiction of this Court over the Parties and the subject

     matter of this action, and agree to the power of this Court to enter this Consent Decree

     enforceable against PFG.

3.   As a result of settlement discussions, the Parties agree that settlement of these matters

     without further protracted, expensive, and unnecessary litigation is in the public interest

     and that entry of this Consent Decree is the most appropriate means of resolving this civil

     action. Accordingly, the Parties agree to the entry of this Consent Decree without trial or

     further adjudication of any issues of fact or law.




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4.    In agreeing to the terms of this Consent Decree, the EEOC and Defendant, acting by and

      through their counsel, engaged in arms’ length negotiations and a significant exchange of

      information. The Parties have obtained sufficient information to assess reliably the

      relative merits of the claims and defenses. Throughout this process, the EEOC and

      Defendant were represented by counsel knowledgeable in this area of law.

5.    This Consent Decree is final and binding upon Plaintiff, Defendant and its successors

      and assigns.

6.    Defendant agrees that Plaintiff has named as Defendant all the necessary parties required

      to provide the full monetary, injunctive and other equitable relief ordered by this Decree.

      In the event that there is a transfer of ownership of Defendant during the Term of the

      Decree, Defendant shall provide prior written notice to any potential purchaser of

      Defendant’s business of the existence and contents of this Consent Decree if as part of

      said transaction the employees of the OpCos (as defined herein) will become employed

      by the purchaser.

7.    This Court, having carefully examined the terms and provisions of this Consent Decree

      and based on the pleadings on the record in this action, finds that the terms of this

      Consent Decree are adequate, fair, and reasonable, that the Consent Decree conforms

      with the Federal Rules of Civil Procedure and is not in derogation of the rights or

      privileges of any person or any party, and that approval of this Consent Decree will

      further the objectives of Title VII.

It is therefore ORDERED, ADJUDGED, and DECREED as follows:

                                      II. JURISDICTION

8.    The EEOC and Defendant agree that this Court has jurisdiction over the subject matter of

      this litigation and the Parties for the duration of this Consent Decree, venue is proper, and


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      all administrative prerequisites have been met.

9.    The EEOC’s Complaint asserts claims that, if proven, would authorize the Court to grant

      the monetary and equitable relief set forth in this Consent Decree against PFG. The

      Court shall retain jurisdiction of this action for the duration of the Consent Decree for the

      purposes of entering all orders, judgments and Consent Decrees which may be necessary

      to implement the relief provided herein.

                                      III. DEFINITIONS

10.   The following terms, when used in this Consent Decree, shall have the following

      meanings as set forth below. All terms defined in the singular shall have the same

      meaning when used in the plural, and all terms defined in the plural shall have the same

      meaning when used in the singular.

      A.      “Class Member” – All persons who (1) are female; (2) sought employment at

             one of the OpCos in a selector or driver position any time from January 1, 2004

             through December 31, 2013; (3) previously expressed an interest in participating

             in EEOC’s lawsuit; (4) and were previously informed by the EEOC that they

             were a Class Member in the lawsuit. For purposes of monetary relief only, Class

             Member shall also include those individuals identified by the EEOC as applying

             for certain forklift positions and were previously informed by the EEOC that

             they were a Class Member in the lawsuit. For purposes of affirmative hiring

             relief only, Class Member shall not include an individual who was employed at

             one of the OpCos in a selector or driver position any time from January 1, 2004

             through December 31, 2013.

      B.     “Class Member Distribution List” – The list of Class Members and the amount

             of each such Class Member’s Monetary Award.


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C.   “Consent Decree” – This Consent Decree, embodying the terms of the Parties’

     settlement, including all of the Exhibits attached thereto.

D.   “Defendant” – The named Defendant in this action, Performance Food Group,

     Inc.

E.   “Effective Date” - The Effective Date of this Consent Decree is the date on

     which the Court gives final approval to the Consent Decree.

F.   “Good Faith Efforts” – Good Faith Efforts means reasonably and in good faith

     implementing a plan to comply with all of the specific objectives to which the

     best efforts are directed.

G.   “Monetary Award” – The settlement amount which the EEOC determines will

     be paid to a particular Class Member.

H.   “OpCo” or “OpCos” – One or all of the following, except that the

     provisions of Sections VI and VIII shall not apply to “McGee”:

     1. AFI located at 1 Ikea Drive, Elizabeth, NJ 07207;
     2. Batesville located at 506 Highway 35 N, Batesville, MS 38606;
     3. Caro located at 2324 Bayou Blue Rd., Houma, LA 70364;
     4. Carroll County Foods located at 1333 Avondale Rd., New Windsor, MD 21776;
     5. Empire located at 3595 NW 125 St., Miami, FL 33167;
     6. Florence located at 2801 Alex Lee Blvd., Florence, SC 29506;
     7. Florida located at 3150 North Gallagher Rd., Dover, FL 33527;
     8. Fox River located at 5030 Baseline Road, Montgomery, IL 60538;
     9. Hale located at 5262 Air Park Blvd., Morristown, TN 37813;
     10. Hickory located at 543 12th Street Drive, NW, Hickory, NC 28603-2947;
     11. Ledyard located at 1047 17th Avenue, Santa Cruz, CA 95062;
     12. Lester located at 401 Maddox Simpson Pkwy, Lebanon, TN 37090;
     13. Little Rock located at 4901 Asher Ave., Little Rock, AR 72204;
     14. McGee formerly located at 1800 Simpson Highway 49, Magee, MS 3911;
     15. Middendorf located at 3737 North Broadway, St. Louis, MO 63147;
     16. Milton’s located at 3501 Old Oakwood Rd., Oakwood, GA 30566;
     17. North Center located at 20 Dalton Road, Augusta, ME 04338;
     18. Powell located at 211 Alton Hall Rd., Cairo, GA 39828;
     19. Somerset located at 910 Highway 46, Somerset, KY 42503;
     20. Springfield located at One Performance Blvd., Springfield, MA 01104;
     21. Temple located at 4141 Lucius McCelvey Dr., Temple, TX 76504;
     22. Thoms Proestler Co. (TPC) located at 8001 TPC Rd., Rock Island, IL 61201;
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             23. VFG located at 7420 Ranco Road, PO Box 28010, Richmond, VA 23228; and
             24. Victoria located at 204 North Brownson, Victoria, TX 77901.

      I.      “Parties” - The Parties to this Consent Decree are Plaintiff, U.S. Equal

             Employment Opportunity Commission (“EEOC”), and Defendant Performance

             Food Group, Inc. (“PFG”).

      J.     “Settlement Administrator” – The agent, company, or individual retained to

             carry out the functions necessary to administer and distribute the Class Settlement

             Fund, as more specifically provided in Paragraphs 31-37, below.

      K.     “Underlying Charges of Discrimination” – The EEOC charges filed by Julie

             Lawrence, Kyle Gardner and Jason Geib which serve as the jurisdictional basis

             for the EEOC’s Complaint.

      L.     “Qualified” – Qualified shall mean that the applicant meets the minimum

             qualifications set forth in a job description or job posting.

                               IV. GENERAL PROVISIONS

11.   Scope - This Consent Decree covers all of the OpCos as defined in Section III.10.H.

12.   Term of Consent Decree - This Consent Decree shall remain in effect for five years

      subsequent to the Effective Date.

13.   Compliance with Federal EEO Laws - Nothing in this Consent Decree shall be

      construed to limit or reduce PFG’s obligation to comply with the statutes enforced by the

      EEOC, including Title VII.

14.   Complete Consent Decree - This Consent Decree constitutes the complete

      understanding among the Parties with respect to the matters herein.

15.   Severability - If one or more provisions of this Consent Decree are rendered unlawful or

      unenforceable by act of Congress or by decision of the United States Supreme Court, the

      Parties shall attempt to agree upon what amendments to this Consent Decree, if any, are
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          appropriate to effectuate the purposes of this Consent Decree. In any event, the

          unaffected provisions will remain enforceable.

               V. CLAIMS RESOLVED AND EFFECT OF CONSENT DECREE

  16.     EEOC Claims Resolved and Rights Reserved – This Decree resolves all issues and

          claims in the Complaint and Underlying Charges of Discrimination.

  17.     Agreement Not to Litigate Resolved Issues - The EEOC agrees that it will not use any

          of the Underlying Charges of Discrimination as a basis for subsequent litigation by the

          EEOC.

                                     VI. AFFIRMATIVE RELIEF

  18.     Injunction

          18.01 No Discrimination - During the term of this Consent Decree, Defendant is

                  enjoined from discriminating against females by failing to hire them for selector

                  or driver positions at the OpCos because of their sex.

          18.02 No Retaliation - During the term of this Consent Decree, Defendant is enjoined

                  from retaliating against any individual (i) because of his or her participation in

                  the investigation by the EEOC into this matter; (ii) because of his or her

                  participation in this lawsuit; or (iii) because of his or her asserting any rights

                  under this Consent Decree.

          18.03 Record Retention – During the term of this Consent Decree, Defendant is

                  enjoined from failing to maintain all applications and employment records as

                  required by Section 709(c) of Title VII, 42 U.S.C. § 1602.14.

19.     Hiring Vice President of Diversity and Inclusion

          19.01 PFG will hire a Vice President of Diversity and Inclusion who will serve as

                  PFG’s organizational leader to drive the vision, strategy and execution for


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       PFG’s national diversity, equity and inclusion initiatives, including

       promoting employment opportunities for females into the selector and driver

       positions.

19.02 Reporting directly to PFG’s Senior Vice President and Chief Human

       Resources Officer, the Vice President of Diversity and Inclusion will be

       tasked with overseeing the company’s compliance with the terms of this

       Consent Decree, as well as with ensuring accuracy of the company’s

       reporting.

19.03 The Vice President of Diversity and Inclusion shall possess the knowledge,

       capability, organizational authority, and resources to monitor and ensure PFG’s

       compliance with the terms of the Consent Decree. The Vice President of

       Diversity and Inclusion also shall have a reasonable base of knowledge regarding

       Title VII and human resource management. PFG will provide the EEOC with a

       copy of the curriculum vitae of the Vice President of Diversity and Inclusion.

19.04 PFG shall assign the Vice President of Diversity and Inclusion the

       responsibility of monitoring and ensuring Decree compliance and shall

       further hold the individual accountable for carrying out his or her

       responsibilities. PFG shall ensure that the Vice President of Diversity and

       Inclusion receives all training and assistance necessary to carry out his or

       her duties in a proficient manner. To the extent the Vice President of

       Diversity and Inclusion requires technical assistance to enable him or her

       to proficiently perform a specific function, PFG shall ensure that such

       assistance is provided by their own qualified personnel or, in the

       alternative, third-party consultants.

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19.05 Replacement of the Vice President of Diversity and Inclusion – In the event

       the Vice President of Diversity and Inclusion’s employment with PFG ends

       during the term of the Consent Decree, PFG will hire another individual who

       meets the qualifications specified in Section VI.19.03 to serve as the Vice

       President of Diversity and Inclusion. While the position is vacant, the Senior

       Vice President & Chief Human Resources Officer or her designee will oversee

       the company’s compliance with the terms of this Consent Decree.

19.06 Vice President of Diversity and Inclusion Responsibilities - During the term of

       the Consent Decree, the Vice President of Diversity and Inclusion will have the

       following responsibilities:

       •      Evaluate whether PFG has taken appropriate and reasonable action to
              ensure that hiring decisions for selector and driver positions in the OpCos
              are made without regard to sex;

       •      Review the qualifications for selector and driver positions in the
              OpCos to ensure that they are defined, uniform, objective, and
              job-related;

       •      Review records documenting complaints of discrimination based on sex,
              including oral and written complaints, charges of discrimination, and
              investigative records relating to such complaints;

       •      Review the data identified in Paragraph 39 below to assess whether the
              data therein suggest any potential sex discrimination. Where the data so
              suggests, conduct a good faith, reasonably diligent internal investigation
              of the circumstances to determine whether Defendant’s personnel acted in
              conformity with Title VII and with Defendant’s own relevant policies;

       •      Evaluate whether PFG has taken appropriate and reasonable action to
              protect female employees from sex discrimination, including sex-based
              hostile work environment and/or sex harassment and retaliation; and

       •      Meet at least monthly with PFG staff with responsibilities for ensuring
              compliance with this Consent Decree.




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20.   Hiring Relief

      20.01 To ameliorate past conduct alleged by EEOC, Defendant shall use Good Faith

             Efforts to meet the following Offer Goals for females:

            20.01.1     With respect to new Selectors, the Offer Goal will be equal to the

                        yearly percentage of qualified applicants for the selector position at all

                        OpCos who are female.

            20.01.2     With respect to new drivers, the Offer Goal will be equal to the yearly

                        percentage of qualified applicants for drivers at all OpCos who are

                        female.

             20.01.3    Defendant shall always have the right to offer employment and hire

                        who it considers to be the best qualified candidate so long as

                        Defendant uses Good Faith Efforts to meet the foregoing Offer Goals.

             20.01.4    “Offer” for purposes of this section shall include offers for a full-

                        time or part-time job, whether permanent, temporary or seasonal.

                        Offer Goals shall not be applicable to the transfer of an employee

                        from one job title to another.

             20.01.5    Defendant shall use a voluntary self-identification form to identify the

                        sex of applicants. The voluntary self-identification form shall be

                        maintained separately from the applicant’s other application materials.

                        The voluntary self-identification form shall not be provided to any

                        individual who makes or has input into decisions regarding whether to

                        interview or hire an applicant prior to such decisions; however, such

                        documents may be provided to such individuals afterwards as part of

                        Defendant’s recordkeeping and reporting obligations described herein,

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                 and such documents may be provided to employees working in

                 Defendant’s corporate offices relating to Defendant’s reporting

                 obligations.

20.02 Class Member Hiring Preference – Within 60 days of the Effective Date,

      EEOC will provide PFG with an initial list of Class Members interested in

      Selector or Driver Positions who were not employed at one of the OpCos in a

      Selector or Driver Position any time from January 1, 2004 through December

      31, 2013. EEOC will provide Defendant with a supplemental list of interested

      Class Members who were not employed at one of the OpCos within 120 days

      of the Effective Date.

      20.02.1    In order to fulfill its obligation to use Good Faith Efforts to meet its

                 Offer Goals, Defendant will have discretion to select among qualified

                 female applicants subject to a “Class Member Hiring Preference.” If

                 there is a Qualified Female applicant who was a Class Member in this

                 litigation, Defendant will offer a job to that Qualified Female Class

                 Member before offering it to another Qualified Female applicant who

                 was not a Class Member. If there is more than one Qualified Female

                 Class Member, PFG will have the discretion to select among them. If

                 a Qualified Female Class Member refuses a position, she will lose the

                 “Class Member hiring preference.”

      20.02.2    With respect to Class Members interested in employment identified to

                 PFG pursuant to Paragraph 20.02.1 and all other female applicants for

                 selector and driver positions, PFG shall maintain their applications

                 and screen and interview them in the same manner and based on the

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                        same standards they do for all other applicants. PFG may not subject

                        the female Class Members interested in employment to a different

                        application process or require that they submit different or additional

                        application materials than that required of all other applicants.

21.   Recruiting

      21.01 PFG shall engage in good faith efforts to provide equal employment opportunity

             in its selector and driver workforce at the OpCos by conducting affirmative

             recruitment activities towards qualified female applicants, in addition to

             whatever other non-discriminatory recruitment activities PFG desires to conduct.

             In pursuit of this endeavor, PFG shall engage in the following activities:

             21.01.1    Provide to local educational and vocational institutions from which

                        Defendant has recruited applicants or employees, a written notice that

                        states that Defendant is an equal opportunity employer and that the

                        educational institution should encourage students of both sexes to

                        apply for employment with Defendant;

             21.01.2    Join and seek recruiting recommendations from organizations which

                        are dedicated to the inclusion of women in selector and driver

                        positions, including but not limited to Women In Trucking

                        Association (www.womenintrucking.org);

             21.01.3    Strategically place job advertisements in media designed to reach

                        women seeking employment in selector and driver positions,

                        including but not limited to posting job vacancies on the online job

                        board at www.womenintrucking.org and regularly advertising in

                        “Redefining the Road,” the official magazine of the Women in


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                         Trucking Association;

             21.01.4     Employ full-time recruiters who as part of their responsibilities are

                         charged with promoting equal employment opportunities for female

                         applicants who meet the eligibility requirements for selector and

                         driver;

             21.01.5     Feature females on its marketing and advertising materials pertaining

                         to selector and driver positions;

             21.01.6     Develop an equal employment opportunity section in PFG’s website

                         discussing job opportunities and inclusion efforts;

             21.01.7     Create a program to attract current female employees into driver

                         helper and/or driver positions.

22.   Communication to Third-Party Temporary Employment or Staffing Agencies

      22.01 Within forty-five calendar days of Effective Date, Defendant shall communicate

             in writing to all employment or staffing agencies that the OpCos use to provide

             any personnel to work in selector or drivers positions at the OpCos that

             Defendant has entered into a Consent Decree barring it from engaging in

             discrimination on the basis of sex in hiring, that female applicants for selector and

             driver positions are welcome and should be referred in the same manner as male

             applicants, and that female applicants will be considered for employment.

      22.02 Within seventy-five calendar days of the Effective Date, Defendant shall certify

             in writing to EEOC that the communication referred to in Paragraph 22.01 has

             been provided to the required staffing employment agencies and shall identify

             the employment and staffing agencies to which the communication was

             provided.


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      22.03 The decision whether to use staffing or employment agencies for the hiring of

             individuals for selector and driver positions remains with Defendant. But the use

             by Defendant of such agencies (including the data such agencies collect

             regarding applicant flow) shall not in any way relieve, reduce or otherwise affect

             Defendant’s obligations with respect to meeting the Offer Goals or any other

             obligation under this Decree nor be relied upon in any way for not meeting the

             Offer Goals or using Good Faith Efforts.

23.   Hiring Procedures

      23.01 As of the Effective Date, PFG shall have in place for all selector and driver

             positions in the OpCos a written, predetermined hiring procedure to ensure that

             applicants are evaluated objectively based upon their qualifications and interest

             in open positions and not sex.

      23.02 As of the Effective Date, PFG shall have in place written objective hiring

             criteria which expressly prohibit hiring decisions based on sex. Defendant shall

             provide the EEOC with a copy of the objective criteria for selector and driver

             positions at the OpCos. To the extent the objective criteria changes from time

             to time, Defendant shall provide that objective criteria to EEOC as well.

24.   Employee Retention

      24.01 PFG shall engage in Good Faith Efforts to ensure that the workplace

             environment in the OpCos is free of harassment and sex-bias.

      24.02 PFG shall conduct exit interviews with all employees departing from

             selector and driver positions, provided they are willing to be

             interviewed, and record the reason for departure.

      24.03 On a semi-annual basis, PFG shall analyze the turnover rate for selector and


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             driver positions by sex and to engage in Good Faith Efforts to determine the

             reason for any disparity between men and women.

25.   Performance Evaluations

      25.01 Within ninety (90) calendar days of the Effective Date of this Decree, PFG shall

             revise performance evaluations for the following management positions to

             include measures of performance for: (1) compliance with PFG’s Equal

             Employment Opportunity Policy and Discrimination and Harassment Policy; and

             (2) efforts to meet Offer Goals and to comply with other provisions of this

             Decree: VP Diversity and Inclusion; President & CEO, Performance

             Foodservice; SVP HR, Performance Foodservice; Regional VP HR, Performance

             Foodservice; Director HR, Performance Foodservice; Regional Presidents; SVP

             Operations; Regional VP Operations, Performance Foodservice; and for each

             OpCo, the President, Executive VP, VP of Operations, the Director/Manager of

             Operations, Transportation and Warehouse, the VP of Human Resources, and the

             Director/Manager of Human Resources. The results of such evaluation factors

             shall have a meaningful impact upon compensation and/or bonus calculation.

             The revised performance evaluations will be implemented for the performance

             cycle beginning July 2021.

      25.02 Within 120 calendar days of the Effective Date of this Decree, PFG shall

             submit copies of the revised performance evaluations to the EEOC.

      25.03 On at least an annual basis, the Vice President of Diversity and Inclusion shall

             have a discussion with the individuals in the management positions identified

             in Section VI.25.01 to review whether Offer Goals have been met.




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      25.04 In considering an individual for promotion to any of the management positions

             listed in Section VI.25.01, the Company shall consider, among other things, the

             individual’s performance evaluations, including, but not limited to the

             individual’s compliance with PFG’s Equal Employment Opportunity Policy

             and Discrimination and Harassment Policy and efforts to meet Offer Goals and

             to comply with other provisions of this Decree.

26.   Non-Employment of Dan Peckskamp and David Russ

      26.01 PFG shall not reemploy former Vice President of Operations Dan Peckskamp and

             former Regional Vice President of Operations David Russ in any capacity

             (including consulting work).

27.   Title VII Training

      27.01 Within 120 days from the Effective Date, and every year thereafter for the

             duration of this Decree, Defendant will provide two (2) hours of training

             regarding Title VII to the management positions identified in Section

             VI.25.01 and one hour of training to all other managers, human resources

             professionals or employees who have any responsibility for hiring selectors

             and/or drivers at any of the OpCos (including by having input into or

             deciding which applicants to hire, interviewing applicants, or making hiring

             decisions).

      27.02 The Title VII training will be conducted by individuals selected by the Vice

             President of Diversity and Inclusion. The training will cover all areas of

             prohibited Title VII, but will include special emphasis on sex bias, harassment

             and discrimination. The Company will provide the EEOC with the curriculum

             vitae of the individuals selected to provide the training.

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      27.03 Defendant will maintain attendance records identifying the name and job title of

             the attendees at each session.

      27.04 Within thirty calendar days after each training session, Defendant shall certify in

             writing to the EEOC that the training has taken place and that the required

             personnel have attended. Such certification(s) shall include: (a) the date, location

             and duration of the training; and (b) a copy of the registry of attendance, which

             shall include the name and position of each person in attendance.

      27.05 Within thirty calendar days after each training session has occurred, Defendant

             shall provide the EEOC with copies of any and all pamphlets, brochures, outlines

             or other written material(s) provided to the participants of the training session(s).

28.   EEO-1 Reporting

      28.01 PFG will continue to file EEO-1 reports annually. In doing so, PFG shall

             properly classify its positions consistent with EEOC’s EEO-1 Job Classification

             guidelines.

29.   Consent Decree Notice and Posting

      29.01 Posting - Within sixty (60) days of the Effective Date of this Consent

             Decree, PFG shall conspicuously post the Notice of Final Approval of

             Settlement (“Notice”), attached hereto as Exhibit A, in all OpCos where all

             other employee-related notices are posted.

      29.02 Orientation on Consent Decree - Prior to posting the Notice required in the

             preceding Paragraph 29.01, PFG shall conduct orientation meetings for the

             individuals in the management positions identified in Section VI.25.01 and all

             persons with job duties related to the screening and hiring for selector and

             driver positions at any of the OpCos. Additionally, PFG shall inform all such

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             persons that any breach of, or failure to comply with, the terms and conditions

             set forth in this Consent Decree shall subject them to dismissal or other

             appropriate disciplinary action. This training may be by videotape, internet, or

             closed-circuit presentation models.

                                VII. MONETARY RELIEF

30.   Relief to Charging Party Julie Lawrence – PFG shall pay the total settlement amount

      of $75,000 to Julie Lawrence.

      30.01 One check shall be in the amount of $13,427.26, less applicable withholdings,

             which shall be for back pay and for which Defendant will issue the appropriate

             IRS W-2 Form for the 2020 tax year. Defendant shall administer proper

             withholdings from the back pay portion of the payment for taxes and required

             employee contributions under FICA. Defendant’s required employer

             contributions under FICA are separate from, and shall not be deducted from, the

             portion of the payment representing back pay.

      30.02 The second check shall be in the amount of $61,572.74, which shall be for

             compensatory and punitive damages and for which Defendant shall issue an IRS

             1099 Form for the 2021 tax year.

      30.03 Defendant shall make payment by issuing these checks directly to Julie Lawrence

             with a copy of the checks and related correspondence to the EEOC. Payment of

             said amounts shall be made within forty-five (45) days of the Effective Date and

             Defendant shall mail the checks to Julie Lawrence at an address to be provided by

             the EEOC. Within ten days after the checks have been sent, Defendant shall

             provide the EEOC with a copy of the checks and proof of their delivery to Ms.

             Lawrence.


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31.   Settlement Commitment of PFG and Establishment of a Class Settlement Fund –

      PFG will pay the total amount of $5,000,000 (the “Settlement Commitment”) for the

      purpose of resolving all class claims that were made against PFG in this civil action.

32.   Selection of Settlement Administrator – The parties have agreed to appoint Rust

      Consulting as the Administrator of the Settlement Fund (“Settlement Administrator”).

      PFG will pay for the services of the Settlement Administrator.

33.   Establishment of a Section 468(b) Qualified Settlement Fund – The Settlement

      Administrator will establish a Qualified Settlement Fund pursuant to IRC Section 468(b)

      (“QSF”). The Settlement Administrator will be the Qualified Settlement Fund's

      “administrator” as that term is used in Treas. Reg. § 1.468B-2(k)(3).

34.   Duties of the Settlement Administrator - The Settlement Administrator will:

      34.01 Establish an interest bearing Settlement Fund Account under the qualified

             Settlement Fund’s federal employer identification number (“FEIN”) for purposes

             of disbursing money from the Qualified Settlement Fund.

      34.02 Prepare and send notices required under this Consent Decree, receive and process

             forms and other communications from Class Members and provide reports and

             documents to the Parties as necessary for administration of the Settlement Funds.

      34.03 Facilitate making payments to the Class Members.

      34.04 After all settlement funds have been distributed, the Settlement Administrator

             shall provide the EEOC and PFG with copies of the checks.

35.   Settlement Administrator Duties With Respect to Taxes - The Parties have

      apportioned 75% of each payment to a Class Member as wages and 25% as non-wage

      compensation. The Settlement Administrator will pay the wage amounts net of all

      applicable employment taxes, including federal, state and local income tax withholding

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      and the employee share of the FICA (social security) tax, and will report the wages and

      withheld amounts to the IRS and the Class Member under the Qualified Settlement

      Fund's FEIN on an IRS Form W-2. The Settlement Administrator will pay the non-wage

      compensation without withholding and will report the non-wage compensation amounts

      to the IRS and the Class Member under the Qualified Settlement Fund's FEIN on an IRS

      Form 1099-MISC. Class Members will be solely responsible for all taxes due with

      respect to the amounts received pursuant to this Settlement Agreement (other than the

      employer share of the FICA tax and any federal or state unemployment tax payable by

      the employer). The Settlement Administrator will pay the employer share of the FICA tax

      and any federal or state unemployment tax owed with respect to the wage portion of the

      payments to the Class Members from additional funds transferred by PFG to the

      Qualified Settlement Fund for this purpose.

36.   Funding the Settlement Fund Account

      36.01 Within sixty (60) days of the Effective Date of this Consent Decree, PFG

             shall deposit the Settlement Commitment described in Paragraph 31, above,

             in the Qualified Settlement Fund.

37.   Administration of Class Settlement

      37.01 EEOC Class Member Distribution List – Within ninety (90) days of the

             Effective Date of this Consent Decree, EEOC will provide PFG and the

             Settlement Administrator with a Class Member Distribution List.

      37.02 Notice of Determination - Within thirty (30) days of when EEOC issues the

             Class Member Distribution List as provided in Paragraph 36.01 above, the

             Settlement Administrator will send each Class Member by First Class Mail a

             Notice of Determination drafted by the EEOC and approved by PFG, advising

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       the Class Member of the monetary award amount and instructions for accepting

       the award, including a clear statement of the deadline for accepting. The Notice

       of Determination will be sent with a return envelope.

37.03 Deadline for Acceptance - The deadline for acceptance of the Determination by

       the Class Member will be the thirtieth (30th) day after the date the Notice of

       Determination is mailed by the Settlement Administrator (“Acceptance

       Deadline”). If the deadline day falls on a weekend day or federal holiday, the

       Acceptance Deadline will be the next business day after such weekend day or

       holiday. If a Class Member does not return her acceptance of the Determination

       by the Acceptance Deadline, the Class Member shall receive no payments under

       this Decree and the monies allocated to the Class Member will be distributed in

       accordance with Paragraph 37.08.

37.04 The Settlement Administrator shall issue checks to the Class Members within

       thirty (30) calendar days of the Acceptance Deadline.

37.05 For Class Members whose Notices are returned by the U.S. Postal Service as

       undeliverable, the Settlement Administrator will perform one (1) address search

       per individual and re-mail the Notices once to those for whom a potentially new

       address can be found, and will also notify the EEOC.

37.06 The Settlement Administrator shall promptly notify the EEOC of any checks that

       are returned or are not cashed after a period of one-hundred eighty (180) calendar

       days have elapsed from the date on which the settlement checks were mailed, and

       the EEOC shall immediately notify Defendant in writing of the same. In the

       event that any Class Member’s check is undeliverable or uncashed, and the

       Settlement Administrator and the EEOC determine that the Class Member cannot

       be located, the missing Class Member shall receive no payments under this
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       Decree. In the event that any portion of the QSF has been allocated to a missing

       Class Member, and therefore cannot be distributed to the missing Class Member,

       one-hundred fifty (150) calendar days after the checks were originally mailed, the

       balance of the QSF shall be distributed in accordance with Paragraph 37.08.

37.07 Monetary payments shall be made on behalf of deceased Class Members through

       representatives of their estate or next of kin if the Settlement Administrator

       determines that appropriate documentation (e.g., letters testamentary or the

       equivalent) has been provided, along with the other documentation required as a

       condition for payment. Any sums paid to a deceased Class Member shall be

       made payable to the estate of the deceased Class Member, or if no estate exists, to

       the decedent’s next of kin, assuming all legal requirements are met prior to such

       payments.

37.08 If there are any additional unallocated funds remaining in the QSF after

       distribution to all Class Members, the Settlement Administrator shall extinguish

       the residual fund balance and distribute the remainder as a donation by Defendant

       to one or more public or not-for-profit organizations that are primarily devoted to

       the inclusion of females in traditionally male industries, including, but not limited

       to education institutions, and/or education scholarships, and/or internships or job

       training for females. The organizations will be determined by the EEOC and

       PFG, and the amounts paid to each will be determined by the EEOC. The EEOC

       will provide the Settlement Administrator with the names of the organizations and

       the amounts paid to each. In no event shall there be any reversion of any part of

       the settlement funds to Defendant or to the EEOC.




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                                     VIII. REPORTING

38.   Preliminary Reporting - Within one hundred eighty (180) days of the Effective Date of

      this Consent Decree, PFG shall provide the EEOC with the following:

      •      verification that the revised performance evaluations have been implemented as

             required by Paragraph 25;

      •      certification of employee attendance for all EEO training conducted pursuant to

             this Consent Decree as required by Paragraph 27;

      •      Verification that the Notice has been posted as required under Paragraph 29.01;

      •      Verification that the Consent Decree orientation has been conducted as required

             under Paragraph 29.02.

39.   Semi-Annual Reporting: Within one hundred eighty (180) days of Effective Date, and

      at six (6) month intervals thereafter for the duration of the Decree, Defendant shall

      provide Semi-Annual Reports to the EEOC. Defendant’s final Semi-Annual Report shall

      be due 60 days before the expiration of the Decree. Defendant’s Semi-Annual Reports

      shall include information regarding the following:

      39.01 Progress in reaching the Offer Goals. Defendant will indicate any shortfalls in

             achieving the Offer Goals and will analyze the possible reasons for such

             shortfall, and will identify plans to facilitate achievement of the Initial Offer

             Goals;

      39.02 To the extent that the information is reasonably available to PFG, a database

             containing for each driver and selector requisition closed within the six month

             period, the following information for each applicant: the name; sex; social

             security number; address; telephone number; position applied for; the

             requisition number to which the application was submitted; the date and time


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       the application was submitted; location of position applied for; whether the

       application was viewed; qualifications of the applicant as submitted in their

       application (e.g., previous experience, whether the applicant has a commercial

       driver license) that PFG considers when making job offer decision under the

       requisition or job posting; interview date; date of job offer and position offered;

       whether a job offer was accepted or rejected; whether an applicant withdrew

       from the application process; whether an applicant failed to respond to an

       interview request; hire date; and if applicable, the reason for rejection if not

       given a job offer (including the qualification(s) not met for those applicants

       who were rejected for failing to meet qualifications for the job they applied to).

       The database shall also include, for any selector or driver hired and terminated

       during the six-month reporting period, the date of termination and the reason

       for the termination;

39.03 The identification of Qualified Female Class Members hired, including the name,

       date of hire and position title for each;

39.04 In order to assess Offer Goals, standard deviations will be calculated using a

       multivariate regression approach with controls for each OpCo, reporting time

       period, and identified factors considered for offers. With respect to Selectors,

       the Offer Goal will be considered “equal to” if the percentage of offers to

       females for Selector positions is within the statistical margin of error (two

       standard deviations) of the expected yearly percentage of offers to females

       based on the regression model. With respect to Drivers, the Offer Goal will be

       considered “equal to” if the percentage of offers to females for Driver positions

       is within the statistical margin of error (two standard deviations) of the


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             expected yearly percentage of offers to females based on the regression model;

      39.05 A description of Defendant’s efforts to recruit female applicants for selector

             and driver positions at the OpCos;

      39.06 A description of all complaints or reports to management or human resources,

             oral or written, of sex discrimination, harassment, or retaliation at any of the

             OpCos which involved women in selector or driver positions, and what action if

             any, Defendant took to resolve the matter;

      39.07 With respect to selector and driver positions at the OpCos, a description of

             changes, if any, made during the reporting period to Defendant’s application,

             interviewing, and hiring procedures, job descriptions, or qualifications or

             hiring criteria;

      39.08 Certification that the Notices remain posted as required by Section VI.29.01.

             If the location of posting or method or manner in which Defendant has

             complied with Section VI.29.01 has changed during the reporting period,

             Defendant shall describe those changes.

40.   Additional Data - The EEOC shall have the right to request additional data from PFG, so

      long as the information sought is necessary and consistent with the monitoring of the

      Consent Decree and is not unduly burdensome for PFG to produce. PFG shall comply

      with a request for additional data within forty-five (45) days of the request. Any disputes

      regarding the propriety of any request for additional data shall be resolved by the Court

      as provided in Section IX (“Enforcement of Consent Decree).

                     IX. ENFORCEMENT OF CONSENT DECREE

41.   Enforcement by EEOC - If EEOC concludes that PFG has breached this Consent

      Decree, EEOC may seek relief from the Court for the alleged breach.

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42.   Requirement of Informal Resolution Efforts

      42.01 Notice of Dispute - Prior to initiating an action to enforce the Consent Decree,

             the moving party will provide written notice to all other Parties regarding the

             nature of the dispute. This notice shall specify the particular provision(s) believed

             to have been breached and a statement of the issues in dispute. The notice may

             also include a reasonable request for documents or information relevant to the

             dispute.

      42.02 Response to Notice of Dispute - Within sixty (60) days after service of the

             Notice of Dispute, PFG will provide a written response and provide the requested

             documents or information. The EEOC may also submit responses within fourteen

             (14) days after service of the Notice.

      42.03 Service - Service of the Notice of Dispute and any Responses shall be made by

             hand-delivery, facsimile transmission, or electronic mail upon the following:

             EEOC:        Maria Salacuse
                          Assistant General Counsel for Technology
                          Office of General Counsel
                          131 M St., NE
                          Washington, DC 20507
                          maria.salacuse@eeoc.gov


             PFG:         Vice President of Diversity and Inclusion


                          and

                         Jean L. Schmidt
                         Littler Mendelson
                         900 Third Avenue
                         New York, NY 10022
                         jschmidt@littler.com




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      42.04 Meeting - After service of the Responses, the Parties will schedule a telephonic or

             in-person meeting to attempt to resolve the dispute.

      42.05 Dispute Resolution Period - If the dispute has not been resolved within

             forty-five (45) days after service of PFG’s Response to Notice of Dispute, an

             action to enforce the Consent Decree may be brought in this Court.

                           X. MISCELLANEOUS PROVISIONS

43.   Joint Document Of The Parties - The terms of this Consent Decree are the product of

      joint negotiation and are not to be construed as having been authored by one party or

      another.

44.   Implementation - The Commission and PFG agree to take all reasonable steps that may

      be necessary to fully effectuate the terms of this Consent Decree.




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                                      XI. SIGNATURES

 FOR PLAINTIFF:                                   FOR DEFENDANT:

 Sharon Fast Gustafson
 General Counsel                                   /s/ Jean L. Schmidt
                                                  Jean L. Schmidt
 Gwendolyn Young Reams                            (Signed by Maria Salacuse with permission of
 Associate General Counsel                        Jean L. Schmidt)
                                                  LITTLER MENDELSON, P.C.
 /s/ Debra M. Lawrence                            900 Third Avenue
 Debra M. Lawrence                                New York, New York 10022
 Regional Attorney                                Phone: (212) 583-9600
 (Signed by Maria Salacuse with permission        E-mail: jschmidt@littler.com
  of Debra M. Lawrence)

/s/ Maria Salacuse
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/s/__________________________
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Eric S. Thompson (Bar No. 94299)
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Baltimore, MD 21201




 Ordered this 16th   day of December, 2020,


                                                             /S/
                                              Catherine C. Blake
                                              U.S. District Court Judge
                                                27
